       Case 1:17-cv-04853-JSR Document 33 Filed 07/26/17 Page 1 of 11   1
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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    SARAH PALIN,

4                     Plaintiff,

5                v.                                17 Civ. 4853 (JSR)

6
     THE NEW YORK TIMES COMPANY, a
7    NEW YORK corporation,
                                                   Conference
8
                      Defendant.
9
     ------------------------------x
10                                                 New York, N.Y.
                                                   July 7, 2017
11                                                 11:09 p.m.

12   Before:

13                            HON. JED S. RAKOFF,

14                                                 District Judge

15                                 APPEARANCES

16   GOLENBOCK EISEMAN ASSOR BELL & PESKOE LLP
          Attorneys for Plaintiff
17   BY: SHAWN PRESTON RICARDO

18        - and -

19   BAJO CUVA COHEN TURKEL
     BY: KENNETH G. TURKEL
20        SHANE B. VOGT

21   LEVINE, SULLIVAN, KOCH & SCHULZ, LLP
          Attorneys for Defendant
22   BY: DAVID A. SCHULZ
          JEREMY A. KUTNER
23

24

25


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       Case 1:17-cv-04853-JSR Document 33 Filed 07/26/17 Page 2 of 11       2
     H77HPALC

1               (Case called)

2               THE COURT:    All right.   So this is just a scheduling

3    conference, although maybe we should have the trial because I

4    notice we have a particularly prepossessing jury in the jury

5    box.

6               So thank you for your case management plan, which is

7    fine.   We will set this down for a final pretrial conference as

8    well as oral argument on any summary judgment motion for

9    November 2 at 4:00 p.m.

10              MR. SCHULZ:    Might I just be heard briefly?      In the

11   time that this schedule was worked out with The Times in-house

12   counsel, which I think was the same day that the complaint was

13   served, the counsel told the counsel for plaintiffs that there

14   would likely be a motion to dismiss, but that it hadn't been

15   decided.

16              THE COURT:    Yes.   So would you like to file a motion

17   to dismiss?

18              MR. SCHULZ:    I would like to -- I know your practice

19   is not normally to stay discovery during a motion to dismiss,

20   but given the nature of this case, I'd like to at least find

21   out if the Court would entertain an application.

22              THE COURT:    Well, my practice is a little slightly

23   different than that.      If you can very promptly file a motion to

24   dismiss and the other side can very promptly respond, then I'm

25   prepared, in those kinds of cases, to stay discovery, but


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       Case 1:17-cv-04853-JSR Document 33 Filed 07/26/17 Page 3 of 11       3
     H77HPALC

1    that's because the whole motion practice can be resolved in a

2    matter of a couple of weeks or so.       If you're talking something

3    more extended, then discovery would have to go forward.

4              MR. SCHULZ:    Sure, Judge.    I spoke with

5    plaintiff's counsel on Wednesday to tell him that we were, in

6    fact, prepared to make a motion.       We've told them that we would

7    file it on the date the answer would otherwise be due,

8    January 20, and we can be off to the races.

9              THE COURT:    I'm sorry.    January 20?

10             MR. SCHULZ:    Not a long day.

11             THE COURT:    Excuse me?

12             MR. SCHULZ:    I'm sorry.    It would be due on July 20,

13   which is --

14             THE COURT:    You had me a little --

15             MR. SCHULZ:    Wishful thinking, Judge.      Wishful

16   thinking.

17             THE COURT:    Why do you have to wait around to July 20?

18             MR. SCHULZ:    I'm sorry, Judge?

19             THE COURT:    Why do you have to wait till then?         Sounds

20   like you're ready to go.

21             MR. SCHULZ:    We just actually got retained two days

22   ago.   We need to talk to some people, understand the facts.

23   That's only, what, two weeks from now.        So --

24             THE COURT:    When does your adversary want to file

25   their response?


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       Case 1:17-cv-04853-JSR Document 33 Filed 07/26/17 Page 4 of 11        4
     H77HPALC

1               MR. SCHULZ:    We didn't get that far.     I asked them if

2    they would support a stay application, and they were

3    uninterested in pursuing that.       So I told them I'd bring it up

4    this morning.

5               MR. TURKEL:    Your Honor, may it please the Court, I

6    think the reason we didn't get to that part was if I afforded

7    us the same period to respond to it as they were going to take

8    to write it, it would basically take a month, which is

9    basically 20 percent of the time we have before we're currently

10   set for trial, which I certainly don't like to not afford

11   courtesies on things that this, but it made no sense.

12              THE COURT:    Let's go back to defense counsel.         What's

13   your motion going to say?

14              MR. SCHULZ:    Well, there will be a number of grounds.

15   I think primarily the ground, Judge, is that the complaint

16   fails to plausibly allege actual malice, which the Second

17   Circuit has said under Iqbal Twombly, they have to have

18   facts --

19              THE COURT:    There's no question they have to allege

20   actual malice, but the question is whether they've adequately

21   alleged that.    So even if I granted that motion, that motion

22   would -- in the normal course, that kind of motion would be

23   granted without prejudice to amend it, amending the complaint.

24   So now we're talking a really long delay if I stay discovery.

25              MR. SCHULZ:    It's an assumption that they could --


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       Case 1:17-cv-04853-JSR Document 33 Filed 07/26/17 Page 5 of 11       5
     H77HPALC

1    that there is evidence of actual malice that would allow them

2    to proceed.    And what the complaint shows, I would submit --

3              THE COURT:    In what respect do you say that the

4    complaint fails to allege with specificity actual malice?

5              MR. SCHULZ:    Because the alleged does not anywhere

6    indicate a fact that would suggest that the authors of the

7    editorial knew at the time they published that they were

8    publishing something false or had serious doubts that it was

9    true and published anyway.      In fact, everything in the

10   complaint is to the contrary.      The complaint makes very clear

11   that a mistake was made, but The Times have admitted a mistake

12   was made.    There was an honest mistake in posting the

13   editorial.    It was corrected within 12 or 13 hours.        That's all

14   the facts, and it's laid out in the complaint.         The complaint

15   also makes clear that in the very same paper that the editorial

16   had this mistake in it, there was a news story that had the

17   correct fact.

18             So there's no evidence that there was a knowing intent

19   to put out misinformation.      And I would submit that if they

20   proved every single allegation in this complaint and we were

21   here on summary judgment, the Court would be required to

22   dismiss the complaint at that point because they don't have

23   clear and convincing evidence of actual malice.

24             THE COURT:    OK.   What about that?

25             MR. TURKEL:    Judge, yes, again, may it please the


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       Case 1:17-cv-04853-JSR Document 33 Filed 07/26/17 Page 6 of 11          6
     H77HPALC

1    Court.   Judge, I find that argument somewhat interesting.           In

2    paragraph 42 of the complaint we allege the news story which he

3    is talking about which makes it clear that the story that they

4    published in the op-ed included a false statement about our

5    client, specifically alleging --

6              THE COURT:    The issue he's raising is not whether the

7    statement was accurate or inaccurate.        They've admitted it's

8    inaccurate.    He's saying what's your evidence of malice?

9              MR. TURKEL:    Yes, Judge, and what we've alleged in the

10   complaint, quite clearly -- and I think he undersells to a

11   degree what we've alleged -- is that of course they knew.            It

12   was well-established beforehand, and it was published -- the

13   falsity of it was literally acknowledged the same day in

14   another story in their paper.      If they didn't know, they

15   certainly should have known.

16             THE COURT:    Is should have known sufficient?

17             MR. TURKEL:    No, Judge, reckless disregard.       It's

18   somewhat hard to believe that the same day they published a

19   story, literally acknowledging there was no link between the

20   alleged -- between the map and the crime, specifically in the

21   Gabby Giffords shooting, that they're writing an op-ed saying

22   there's a clear and direct link between that and therefore

23   incitement that was attributed to our client.

24             THE COURT:    So, if I understand your argument, it is

25   that you think the complaint is sufficient because, in your


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       Case 1:17-cv-04853-JSR Document 33 Filed 07/26/17 Page 7 of 11     7
     H77HPALC

1    view, the statement was so out of whack with the facts

2    reported, as they report in their own news story, that no one

3    could make that kind of mistake by accident, something like

4    that?

5              MR. TURKEL:    Yes, Judge, I think that's one way of

6    putting it.

7              THE COURT:    Well, the reason I'm asking, I want to get

8    what you're -- it sounds like it's not a question of amending

9    the complaint.    You don't have any additional facts of malice.

10   It's the facts that you've alleged in the complaint.          Do I have

11   that right?

12             MR. TURKEL:    Judge, yes, and I would say on top of

13   that we've alleged the elements of the tort comporting with the

14   cases that match up with those facts.        So in that sense it's

15   not -- I don't think what they're saying is we haven't alleged

16   elements or we're missing the allegation.        They're saying that

17   in toto, within the four corners, what we've alleged doesn't

18   give us a basis to survive a 12(b) motion.

19             THE COURT:    Yes, that's what they're saying.

20             All right.    So let me go back to defense counsel.

21   Since it doesn't sound like we'll have a problem with amending,

22   I would be willing to consider staying discovery if you can do

23   a lot better than two weeks.      I'm not going to -- as you

24   already articulated, you know what you're arguments are.

25   You've got the whole weekend.      I don't see why you need two


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       Case 1:17-cv-04853-JSR Document 33 Filed 07/26/17 Page 8 of 11     8
     H77HPALC

1    weeks.

2              MR. SCHULZ:    Can I just -- there would be a couple

3    other grounds that I just could lay out.

4              THE COURT:    Go ahead.

5              MR. SCHULZ:    There were a couple other issues I'd like

6    to raise.   One is there is another concerning problem that I

7    believe will be part of this motion.       The editorial refers to

8    Sarah Palin's PAC having done something that was a mistake, the

9    allegation was a mistake.      The plaintiff here is Sarah Palin.

10   I'm not sure that she has a personal claim for a statement made

11   about her PAC, and we'd alike an opportunity to litigate that.

12             THE COURT:    Yes, but that would not be a ground for

13   staying discovery, because if the rest of the case goes

14   forward, just not that part, then --

15             MR. SCHULZ:    There's no rest of the case because the

16   only --

17             THE COURT:    Maybe I'm misunderstanding.

18             MR. SCHULZ:    The only plaintiff here is Sarah Palin.

19             THE COURT:    Pardon?

20             MR. SCHULZ:    If there is, in fact, no libel against

21   Sarah Palin, it was only against her PAC, there's no claim,

22   period.

23             THE COURT:    I see.    I see.

24             MR. SCHULZ:    And one other, which is why I would like

25   a little more time, they -- plaintiffs in this case are making


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       Case 1:17-cv-04853-JSR Document 33 Filed 07/26/17 Page 9 of 11       9
     H77HPALC

1    a very novel damage claim.      They're asking for disgorgement of

2    The New York Times' profits that can be tied to this editorial.

3    As a legal matter --

4              THE COURT:    My understanding was The New York Times

5    doesn't make any money.

6              MR. SCHULZ:    I think that is a fair statement.         But as

7    a legal matter, disgorgement, we believe, under Gertz is not a

8    permissible measure of damages.       Fairly recently, within the

9    last year and a half, the Eighth Circuit said that as a matter

10   of Minnesota law you can't get disgorgement of profits.            I

11   don't know if the Second Circuit has addressed it, but it's a

12   serious issue that should be decided as a matter of law, and it

13   will affect the scope of discovery.

14             So we think that that needs to be litigated and

15   addressed also, and it should be presented to the Court before

16   we're off to discovery about profits and all sorts of things

17   that may be entirely irrelevant.

18             THE COURT:    Well, let me give defense counsel the

19   initial choice.    Either, if you prefer, you can file your

20   motion within one week, in which case I will stay discovery

21   subject to hearing anything further plaintiff's counsel has to

22   say, or you can file it, as you requested, within two weeks, in

23   which case document discovery will go forward but not

24   depositions.    So what's your choice?

25             MR. SCHULZ:    We'll file in one week, Judge.


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       Case 1:17-cv-04853-JSR Document 33 Filed 07/26/17 Page 10 of 11      10
     H77HPALC

1              THE COURT:    So let's get some dates here.       Moving

2    papers, July 14, in honor of Bastille Day.         Answering papers,

3    you have a choice of one week or two weeks.         Which would you

4    like?

5              MR. TURKEL:    Yes, Judge, we can get it done in a week.

6              THE COURT:    Very good.    So that's 7/21.     Reply

7    papers --

8              MR. TURKEL:    Judge, if I may just caveat that, that's

9    assuming that the grounds that were identified today are the

10   grounds that are actually brought and there's not another three

11   added, or something like that.

12             THE COURT:    If there's a problem like that, you could

13   always call me, and we'll make an adjustment.         I might give you

14   another day or two.

15             MR. TURKEL:    Yes, your Honor.     Appreciate it.

16             THE COURT:    OK.   Reply papers, July 26, and let's have

17   oral argument -- let me look at July 31.

18             THE DEPUTY CLERK:     July 31, a Monday, you just have

19   11:00 o'clock matters.

20             THE COURT:    So July 31 at 4:00 p.m.      So in light of

21   that, discovery will be stayed till August 1.         If at oral

22   argument on the 31st, it appears that the motion will be

23   dispositive, we'll adjust it, but for now, August 1.          So the

24   only dates in your case management plan we have to change --

25   actually, we don't have to change any.        Both sides can go ahead


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       Case 1:17-cv-04853-JSR Document 33 Filed 07/26/17 Page 11 of 11   11
     H77HPALC

1    and file their requests for documents at any time up till

2    July 12, the limited interrogatories up to July 12, but they

3    don't have to be responded to until the date that we'll set at

4    the time of the oral argument on July 31, and no depositions

5    will occur until such date as we say on July 31.

6              Now, we'll still set the final pretrial conference for

7    November 2 at 4:00 p.m., and I thought since I have a -- who

8    knows when this case will ever go to trial, but if it does, I

9    want to set the trial date now so that we'll all have it fixed

10   and firm because I've got a complicated schedule towards the

11   end of the year.    So how long a trial are we talking about?       A

12   week?

13             MR. TURKEL:    Yes, Judge.

14             THE COURT:    I could give you either December 11 or

15   January 3, whichever you prefer.

16             MR. TURKEL:    December 11, your Honor.

17             MR. SCHULZ:    That would work for us.

18             THE COURT:    OK. December 11 for the trial date.

19             All right.    Anything else we need to take up today?

20             MR. SCHULZ:    Not that I know of.

21             MR. TURKEL:    No, Judge.    Nothing for the plaintiff,

22   your Honor.

23             THE COURT:    Very good.    Thanks so much.

24             (Adjourned)

25


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